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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

    In re:                                                          Chapter 11

    AEARO TECHNOLOGIES LLC, et al., 1                               Case No. 22-02890-JJG-11

                      Debtor.                                       (Jointly Administered)


                           CLAIMANTS’ MOTION TO CONTINUE
                    HEARING ON DEBTORS’ EMPLOYMENT APPLICATIONS

             The claimants represented by counsel on the signature page hereto (collectively, the

“Claimants”), by counsel, request entry of an order continuing the hearing on the Debtors’

Employment Applications (as defined below) to the omnibus hearing scheduled for October 12,

2022 on the following grounds:

                                             I. JURISDICTION

             1.     The Court has jurisdiction over this motion pursuant to 28 U.S.C. §§ 157 and

1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157.

             2.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

             3.     The statutory predicates for relief requested are section 105(a) of title 11 of the

United States Code (the “Bankruptcy Code”), Rule 9006(b) of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and S.D.Ind. B-5071-1.

                                            II. BACKGROUND

             4.     On July 26, 2022, the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) each filed a voluntary petition for relief under chapter 11 of the


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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are set forth in the Debtors’ First Day Motion for Entry of an Order (I) Directing Joint Administration of
Chapter 11 Cases and (II) Granting Related Relief, filed contemporaneously herewith. The location of the Debtors’
service address for purposes of these chapter 11 cases is: 7911 Zionsville Road, Indianapolis, Indiana 46268.
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Bankruptcy Code. The Debtors are operating their businesses and managing their properties as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On July

26, 2022, the Court entered Orders [Docs 37-42] authorizing the joint administration and

procedural consolidation of these chapter 11 cases pursuant to Bankruptcy Rule 1015(b) and

S.D.Ind. B-1015-1(b).

       5.      On August 9, 2022, the Debtors filed the following five (5) applications seeking

authority to employ certain professionals in these chapter 11 cases:

       (a) Debtors’ Application for Entry of an Order Authorizing the Retention and
           Employment of Kirkland & Ellis LLP and Kirkland & Ellis International LLP as
           Attorneys for the Debtors and Debtors in Possession Effective as of July 26, 2022
           [Doc 300];

       (b) Debtors’ Application for Entry of an Order Authorizing the Employment and
           Retention of McDonald Hopkins LLC as Special Counsel Effective as of the Petition
           Date [Doc 301];

       (c) Debtors’ Application for Entry of an Order Authorizing the Retention and
           Employment of Ice Miller LLP as Co-Counsel for the Debtors and Debtors in
           Possession Effective as of July 26, 2022 [Doc 302];

       (d) Debtors’ Application for Entry of an Order (A) Authorizing Retention and
           Employment of Bates White, LLC as Claims Valuation Consultants Effective as of the
           Petition Date and (B) Granting Related Relief [Doc 304]; and

       (e) Debtors’ Application for Entry of an Order Authorizing the (I) Retention of AP
           Services, LLC, (II) Designation of John R. Castellano as Chief Restructuring Officer
           Effective as of the Petition Date, and (III) Granting Related Relief [Doc 305]

(collectively, the “Debtors’ Employment Applications”).

       6.      Pursuant to the Notice, Case Management, and Administrative Procedures (the

“Case Management Procedures”) approved by the Court on July 29, 2022, the current deadline to

object to the Debtors’ Employment Applications is September 7, 2022 at 4:00 p.m. (prevailing

Eastern time) and a hearing on the Debtors’ Employment Applications (the “Hearing”) is set for

September 14, 2022 at 9:00 a.m. (prevailing Eastern time). See Notice of Hearing on (I) Certain



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Applications and Motion Regarding the Retention and Employment of Debtors’ Proposed and

Ordinary Course Professionals and (II) Debtors’ Motion Related to the Establishment of Interim

Compensation and Expense Reimbursement Procedures [Doc 308].

       7.      As of the filing of this motion, the United States Trustee has not yet appointed a

statutory committee in these chapter 11 cases.

                                   III. REQUESTED RELIEF

       8.      The Claimants request entry of an order continuing the Hearing on the Debtors’

Employment Applications to the omnibus hearing scheduled for October 12, 2022 at 9:00 a.m.

(prevailing Eastern time) (the “Next Omnibus Hearing”) and extending all related deadlines to

the corresponding dates as set forth in the Case Management Procedures for the Next Omnibus

Hearing. For the avoidance of doubt, in accordance with the Case Management Procedures, the

Claimants are seeking an extension of the objection deadline to seven (7) days prior to the Next

Omnibus Hearing, with any reply due three (3) days prior to the Next Omnibus Hearing.

                  IV. GROUNDS FOR GRANTING REQUESTED RELIEF

       9.      Section 105(a) of the Bankruptcy Code authorizes a court to “issue any order,

process, or judgment that is necessary or appropriate to carry out the provisions of this title.

Bankruptcy Rule 9006(b) authorizes a court to enlarge the time periods within which certain

actions must be taken, and states, in pertinent part, that:

       when an act is required or allowed to be done at or within a specified period by
       these rules or by a notice given thereunder or by order of the court, the court for
       cause shown may at any time in its discretion . . . with or without motion or notice
       order the period enlarged if the request therefore is made before the expiration of
       the period originally prescribed or as extended by a previous order.

       10.     The Claimants’ assert that good cause exists, pursuant to Bankruptcy Rule

9006(b), to grant the continuance of the Hearing and extending the relevant deadlines. As




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previously stated, a statutory committee has not yet been appointed in these chapter 11 cases.

Even once a committee has been appointed, it will take time for the committee to organize and

retain its own professionals. It is unlikely this will all be accomplished in time for a committee

to have an opportunity to do a meaningful review of the Debtors’ Employment Applications,

consult with Claimants’ counsel, the United States Trustee’s Office and other interested parties

and prepare any necessary objections by the current September 7, 2022 objection deadline.

       11.     This request is made before the expiration of the current objection deadline and is

not for the purpose of delay. Further, continuing the Hearing and extending the relevant

deadlines is reasonable under the circumstances and will not prejudice parties-in-interest.

       12.     Pursuant to S.D.Ind. B-5071-1, the Claimants contacted the Debtors’ proposed

counsel regarding the requested relief herein and, as of the filing of this motion, a response has

not been received regarding whether the Debtors’ proposed counsel consents or objects to the

proposed continuance and extension of the relevant deadlines.

                                            V. NOTICE

       13.     The Claimants will provide notice of this motion to the following parties or their

respective counsel (as defined in the Case Management Procedures): (a) the Core Group; (b)

McDonald Hopkins, LLC; (c) Bates White, LLC; and (d) AP Services, LLC. The Claimants

submit that, in light of the nature of the relief requested, no other or further notice need be given.

       14.     The Claimants further request giving the nature of the requested relief that this

motion be exempted from the Case Management Procedures and be granted without a hearing.

       WHEREFORE, the Claimants request entry of an order substantially in the form

attached hereto as Exhibit A: (i) continuing the Hearing on the Debtors’ Employment

Applications to the Next Omnibus Hearing and extending all related deadlines to the




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corresponding dates as set forth in the Case Management Procedures for the Next Omnibus

Hearing; and (ii) granting all other just and proper relief.

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Indianapolis, Indiana                               Respectfully submitted,
Dated: August 26, 2022
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                                    CERTIFICATE OF SERVICE

           I hereby certify that on August 26, 2022 a copy of the foregoing Claimants’ Motion to
   Continue Hearing on Debtors’ Employment Applications was filed electronically. Notice of this
   filing was sent to parties through the Court’s Electronic Case Filing System, which includes all
   parties in the Core Group other than those listed below. Parties may access this filing through
   the Court’s system.

          I further certify that on August 26, 2022, a copy of the foregoing Claimants’ Motion to
   Continue Hearing on Debtors’ Employment Applications was mailed by first-class U.S. Mail,
   postage prepaid, or electronic mail as indicated and properly addressed to the following
   remaining parties in the Core Group and other Affected Entities:
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